        Case 1:23-cv-02811-TWT Document 3 Filed 08/23/23 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

KRISTA ABELS                              )
                                          )
       Plaintiff                          )
                                          )     CIVIL ACTION
v.                                        )
                                          )     FILE NO. 1:23-cv-02811-TWT
UNITEDHEALTHCARE                          )
INSURANCE COMPANY                         )
                                          )
       Defendant                          )

                     CONSENT MOTION TO EXTEND TIME
                    TO ANSWER PLAINTIFF’S COMPLAINT

      Now comes defendant UNITEDHEALTHCARE INSURANCE COMPANY

(“UHC”) and pursuant to Fed. R. Civ. P. 6, files this motion for an extension of

time within which to answer plaintiff’s complaint, showing the Court as follows:

                                         1.

      Plaintiff brought this action to recover medical benefits benefits under an

employee welfare benefit plan governed by the Employee Retirement Income

Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001 et seq.

                                         2.

      The current deadline for UHC’s answer to plaintiff’s complaint is August

25, 2023.
        Case 1:23-cv-02811-TWT Document 3 Filed 08/23/23 Page 2 of 3




                                         3.

      Defendant needs additional time to assemble documents and complete its

answer to plaintiff’s complaint and requests a two-week extension through

September 8, 2023.

                                         4.

      Plaintiff consents to the requested extension.

                                         5.

      A proposed consent order granting the requested extension is filed herewith.

      WHEREFORE, defendant United Healthcare prays that its Consent Motion

to Extend Time to Answer Plaintiff’s Complaint through and including September

8, 2023, be granted.

      This 23rd day of August, 2023.


                                              s/ Kenton J. Coppage
                                              Kenton J. Coppage
                                              Georgia Bar No. 187190
                                              Elizabeth G. Brunette
                                              Georgia Bar No. 560454

                                              Attorneys for Defendant

FOX ROTHSCHILD LLP
999 Peachtree Street, N.E.
Suite 1500
Atlanta, Georgia 30309
(404) 962-1000
kcoppage@foxrothschild.com
ebrunette@foxrothschild.com
         Case 1:23-cv-02811-TWT Document 3 Filed 08/23/23 Page 3 of 3




                          CERTIFICATE OF SERVICE

      The foregoing pleading was filed electronically with the Clerk of Court

using the CM/ECF system, which will automatically send e-mail notification of

such filing to the following attorneys of record:

                            Heather K. Karrh, Esq.
                          Michael J. Hofrichter, Esq.
                    ROGERS, HOFRICHTER & KARRH, LLC
                        225 South Glynn Street, Suite A
                          Fayetteville, Georgia 30214

      This 23rd day of August, 2023.


                                              /s/ Kenton J. Coppage
                                              Kenton J. Coppage
                                              Georgia Bar No. 187190

                                              Attorney for Defendant

FOX ROTHSCHILD LLP
999 Peachtree Street, N.E.
Suite 1500
Atlanta, Georgia 30309
(404) 962-1000
kcoppage@foxrothschild.com
